         Case 1:21-cr-00037-TNM Document 34 Filed 05/26/21 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA      :
                              :
         v.                   :                    Case No. 21-cr-37 (TNM)
                              :
TIMOTHY LOUIS HALE-CUSANELLI, :
                              :
               Defendant.     :

               RESPONSE TO DEFENDANT’S REPORT TO THE COURT
               CONCERNING DISCOVERY AND PLEA NEGOTIATIONS

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully submits this response to Defendant’s May 22, 2021 Report to the Court

Concerning Discovery and Plea Negotiations. (Dkt. 33.) In support of this response, undersigned

counsel respectfully submits the following.

       The bulk of Defendant’s representations to the Court regarding discovery—both in terms

of what they have received and government’s response to their requests—are not accurate. To

date, the government has provided the most substantial portions of the government’s evidence.

That includes the CHS recordings in which Defendant makes substantial admissions regarding his

criminal conduct on January 6, Defendant’s custodial interview in which Defendant makes

substantial admissions regarding his criminal conduct on January 6, and a partial extraction of

Defendant’s cellular phone. The partial extraction includes the extraction report and the native

files, including chats, videos, and photos. Defense counsel has confirmed with the undersigned

that they have access to these materials on USAfx. Further, the government separately provided

Capitol CCTV video capturing Defendant inside the Capitol building on January 6 and reports of

interviews conducted by NCIS. Defense counsel confirmed receipt of these materials with prior

government counsel. Thus, Defendant is already in possession of the evidence most relevant to



                                               1
         Case 1:21-cr-00037-TNM Document 34 Filed 05/26/21 Page 2 of 4



detention proceedings and to Defendant’s conduct on January 6, and has been in receipt of these

materials since before the last status hearing on May 12, 2021.

       Further, on or about April 28, 2021, the government sent the full extraction of Defendant’s

cellular phone on a zip drive that defense counsel was unable to access due to an encryption issue.

After defense counsel was unable to open the zip drive, the government sent the extraction again

on Blu Ray discs. Defense counsel did not have a Blu Ray player, and rather than acquire one,

defense counsel requested that the government provide the extractions again on a hard drive of

their choosing. The government agreed to accommodate this request and has arranged for the

extraction to be downloaded and reproduced—which, due to its size, took time—on defense

counsel’s hard drive. The government informed defense counsel on May 25, 2021 that their hard

drive is ready for pickup. The government’s discovery obligation is to produce evidence. The

government produced the extraction on or about April 28, 2021, and has since been working with

defense counsel to reproduce this material in their preferred format.

       The government’s investigation into Defendant’s conduct and the conduct of many others

during the Capitol Attack is ongoing. The investigation and prosecution of the events on January

6 will likely be one of the largest in American history, both in terms of the number of defendants

prosecuted and the nature and volume of the evidence. Over 400 individuals have been charged

in connection with the Capitol Attack. The spectrum of crimes charged and under investigation in

connection with the Capitol Attack includes (but is not limited to) trespass, engaging in disruptive

or violent conduct in the Capitol or on Capitol grounds, destruction of government property, theft

of government property, assaults on federal and local police officers, firearms offenses, civil

disorder, obstruction of an official proceeding, possession and use of destructive devices, and

conspiracy.



                                                 2
          Case 1:21-cr-00037-TNM Document 34 Filed 05/26/21 Page 3 of 4



        Defendants charged and under investigation come from throughout the United States, and

a combined total of over 1,000 search warrants have been executed in almost all fifty states and

the District of Columbia. Multiple law enforcement agencies were involved in the response to the

Capitol Attack, which included officers and agents from U.S. Capitol Police, the District of

Columbia Metropolitan Police Department, the Federal Bureau of Investigation, the Department

of Homeland Security, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the United

States Secret Service, the United States Park Police, the Virginia State Police, the Arlington

County Police Department, the Prince William County Police Department, the Maryland State

Police, the Montgomery County Police Department, the Prince George’s County Police

Department, and the New Jersey State Police. Documents and evidence accumulated in the Capitol

Attack investigation thus far include: (a) more than 15,000 hours of surveillance and body-worn

camera footage from multiple law enforcement agencies; (b) approximately 1,600 electronic

devices; (c) the results of hundreds of searches of electronic communication providers; (d) over

210,000 tips, of which a substantial portion include video, photo and social media; and (e) over

80,000 reports and 93,000 attachments related to law enforcement interviews of suspects and

witnesses and other investigative steps. As the Capitol riot investigation is still on-going, the

number of defendants charged and the volume of potentially discoverable materials will only

continue to grow. In short, even in cases involving a single defendant, the volume of discoverable

materials is likely to be significant.

        The government is aware of and takes seriously its obligations pursuant to Federal Rule of

Criminal Procedure 16 and Local Criminal Rule 5.1(a), the provisions of Brady v. Maryland, 373

U.S. 83, 87 (1963), Giglio v. United States, 405 U.S. 150, 153-54 (1972), and the Jencks Act, 18

U.S.C. § 3500. The government has worked diligently to produce discoverable material in its



                                                3
          Case 1:21-cr-00037-TNM Document 34 Filed 05/26/21 Page 4 of 4



possession and will continue to do so as this investigation proceeds. The government has attached

to this filing a comprehensive notice of discovery, sent to defense counsel earlier today, listing

everything that defense counsel has received to date.

        As for the status of plea discussions, the Defendant is correct that no formal plea offer has

been made. However, the government and defense have engaged in preliminary discussions

regarding the charges that will likely be required in order to resolve this case prior to trial.

        In light of the above, the government will, at the next status hearing, request that the Court

grant a motion for a 60-day continuance of the above-captioned proceeding, and that the Court

exclude the time within which trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161

et seq., on the basis that the ends of justice served by taking such actions outweigh the best interest

of the public and the defendant in a speedy trial pursuant to the factors described in 18 U.S.C. §

3161(h)(7)(A), (B)(i), (ii), and (iv).

        The government takes no position on Defendant’s request for replacement counsel.

        WHEREFORE, the government respectfully submits this response to Defendant’s Report,

(Dkt. 33.), informing the Court of the status of discovery and plea negotiations.

                                               Respectfully submitted,

                                               CHANNING D. PHILLIPS
                                               Acting United States Attorney
                                               DC Bar No. 415793


                                         By:   /s/ Kathryn E. Fifield
                                               KATHRYN E. FIFIELD
                                               Trial Attorney
                                               Detailed to the District of Columbia
                                               United States Attorney’s Office
                                               555 4th St. NW
                                               Washington, D.C. 20530
                                               Kathryn.fifield@usdoj.gov
                                               (202) 320-0048


                                                   4
